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               Exhibit
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FD-302 (Rev. 5-8-10)                                                                                                                                  Cbarmrt pokbsol• Ism   skrool.
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                                                  FEDERAL BUREAU OF INVESTIGATION

                                                                                                                             Date of entry 
                                                                                                                             'DWHRIHQWU\  05/23/2018


            2Q0D\+($7+(5+817
            On                              +817 &KLHIRIWKH)RUHLJQ$JHQWV
               May 15, 2018, HEATHER HUNT (HUNT),  Chief of the Foreign Agents
            5HJLVWUDWLRQ$FW
            Registration       )$5$ 8QLWRIWKH86'HSDUWPHQWRI-XVWLFH
                          Act (FARA)                                         '2- ZDV
                                     Unit of the U.S. Department of Justice (DOJ), was
            LQWHUYLHZHGDWKHUSODFHRIHPSOR\PHQWE\$VVLVWDQW8QLWHG6WDWHV
            interviewed  at her place of employment by Assistant United States
            $WWRUQH\V-DQH.LPDQG.ULVW\*UHHQEHUJIURPWKH6RXWKHUQ'LVWULFWRI1HZ
            Attorneys Jane Kim and Kristy Greenberg from the Southern District of New
            <RUN 6'1< 7ULDO$WWRUQH\-DVRQ0F&XOORXJKIURP'2-
            York (SDNY);                                           V
                          Trial Attorney Jason McCullough from DOJ's
            &RXQWHULQWHOOLJHQFHDQG([SRUW&RQWURO6HFWLRQDQG6SHFLDO$JHQWV6SHQFHU
            Counterintelligence  and Export Control Section; and Special Agents Spencer
            /XFDVDQG'DQLHO.HJOIURPWKH1HZ<RUN2IILFHRIWKH)HGHUDO%XUHDXRI
            Lucas and Daniel Kegl from the New York Office of the Federal Bureau of
            ,QYHVWLJDWLRQ
            Investigation.

            $WWKHEHJLQQLQJRIWKHLQWHUYLHZ+817ZDVSURYLGHGZLWKDELQGHURI
            At the beginning of the interview, HUNT was provided with a binder of
            WDEEHGH[KLELWVSUHSDUHGE\6'1<7KHLQWHUYLHZHUVUHIHUHQFHGWKHH[KLELWV
            tabbed exhibits prepared by SDNY. The interviewers referenced the exhibits
            WKURXJKRXWWKHLQWHUYLHZDQGWKHFRUUHVSRQGLQJWDEDQG%DWHVQXPEHUVDUH
            throughout the interview, and the corresponding tab and Bates numbers are
            QRWHGEHORZZKHUHDSSOLFDEOH$FRS\RIWKHELQGHULVDWWDFKHGKHUHWRDVD
            noted below where applicable. A copy of the binder is attached hereto as a
            SK\VLFDO$SDFNDJH
            physical 1A package.

            +817DOVRSURGXFHGSULQWHGPDWHULDOVUHODWHGWRWKH)$5$XQLW
            HUNT also produced printed materials related to the FARA unit'sV
            FRUUHVSRQGHQFHZLWK6NDGGHQ$USV6ODWH0HDJKHU
            correspondence with Skadden, Arps, Slate, Meagher & )ORP//3 6NDGGHQ 
                                                                 Flom LLP (Skadden).
            $OWKRXJKWKHVHPDWHULDOVZHUHGXSOLFDWLYHRIWKH%DWHVVWDPSHGH[KLELWV
            Although these materials were duplicative of the Bates-stamped exhibits
            UHIHUHQFHGDERYH+817 VSULQWRXWVDUHDOVRLQFOXGHGLQWKHSK\VLFDO$
            referenced above, HUNT's print-outs are also included in the physical 1A
            SDFNDJH
            package.

            $IWHUEHLQJDGYLVHGRIWKHLGHQWLWLHVRIWKHLQWHUYLHZLQJDWWRUQH\VDQG
            After being advised of the identities of the interviewing attorneys and
            DJHQWVDQGWKHQDWXUHRIWKHLQWHUYLHZ+817SURYLGHGWKHIROORZLQJ
            agents and the nature of the interview, HUNT provided the following
            LQIRUPDWLRQ
            information:

            )$5$8QLW5HVSRQVLELOLWLHVDQG3URFHGXUHV
            FARA Unit Responsibilities and Procedures

            +817ILUVWMRLQHGWKH)$5$XQLWDVDFOHUNW\SLVWLQ)HEUXDU\VKH
            HUNT  first joined the FARA unit as a clerk/typist in February 1984; she
            ODWHUEHFDPHDSDUDOHJDOEHIRUHDWWHQGLQJODZVFKRRODQGFRQWLQXLQJZLWK
            later  became a paralegal before attending law school and continuing with
            WKHXQLWDVDQDWWRUQH\+817ZDVSURPRWHGWR&KLHILQ
            the  unit as an attorney. HUNT was promoted to Chief in 2002.

            7KH)$5$XQLWFXUUHQWO\HPSOR\VWKUHHDWWRUQH\VDQGVL[SURIHVVLRQDOVWDII
            The FARA unit currently employs three attorneys and six professional staff
            PHPEHUVLQFOXGLQJSURJUDPVSHFLDOLVWVDQGDQDO\VWV,QDQG
            members, including program specialists and analysts. In 2012 and 2013,
            WKHUHZHUHRQO\WZRDWWRUQH\VLQWKHXQLW+817DQG.(9,1&2112//<ZKR
            there were only two attorneys in the unit: HUNT and KEVIN CONNOLLY, who
            KDVVLQFHUHWLUHG
            has since retired.



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   Investigationon           :DVKLQJWRQ'LVWULFW2I&ROXPELD8QLWHG6WDWHV
                                   at Washington,
                       05/15/2018 DW                                                   ,Q3HUVRQ
                                                   District Of Columbia, United States (In Person)

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   File #                                                                                                                    'DWHGUDIWHG
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                                                                                                                                              05/17/2018

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  by LUCAS SPENCER J, KEGL DANIEL

  7KLVGRFXPHQWFRQWDLQVQHLWKHUUHFRPPHQGDWLRQVQRUFRQFOXVLRQVRIWKH)%,,WLVWKHSURSHUW\RIWKH)%,DQGLVORDQHGWR\RXUDJHQF\LWDQGLWVFRQWHQWVDUHQRW
  This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
  WREHGLVWULEXWHGRXWVLGH\RXUDJHQF\
  to be distributed outside your agency.
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FD-302a (Rev. 05-08-10)


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Continuation of FD-302 of    8 ,QWHUYLHZRI+HDWKHU+XQW
                            (U) Interview of Heather Hunt           2Q
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                                                                           05/15/2018    page 2
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           7KHXQLWLVUHVSRQVLEOHIRUWKHDGPLQLVWUDWLYHHQIRUFHPHQWRIWKH)$5$
           The unit is responsible for the administrative enforcement of the FARA
           VWDWXWH7KLVLQFOXGHVSURFHVVLQJ)$5$UHJLVWUDWLRQVDQGVXEVHTXHQW
           statute. This includes processing FARA registrations and subsequent
           ILOLQJVUHVSRQGLQJWRZULWWHQ5XOHUHTXHVWVVXEPLWWHGE\SRWHQWLDO
           filings; responding to written "Rule 2" requests submitted by potential
           UHJLVWUDQWVUHYLHZLQJSXEOLFVRXUFHPDWHULDOVDQGFRQWDFWLQJLQGLYLGXDOV
           registrants; reviewing public source materials and contacting individuals
           RUHQWLWLHVWKDWPLJKWEHUHTXLUHGWRUHJLVWHUFRQGXFWLQJDSSUR[LPDWHO\
           or entities that might be required to register; conducting approximately
           LQVSHFWLRQVRIFXUUHQWUHJLVWUDQWVHDFK\HDUDQGSURYLGLQJVHPLDQQXDO
           14 inspections of current registrants each year; and providing semi-annual
           UHSRUWVWR&RQJUHVV$WSUHVHQWWKH)$5$XQLWRYHUVHHVDFWLYH
           reports to Congress. At present, the FARA unit oversees 425 active
           UHJLVWUDQWVVRPHRIZKLFKDUHUHJLVWHUHGDVDJHQWVIRUPXOWLSOHIRUHLJQ
           registrants, some of which are registered as agents for multiple foreign
           SULQFLSDOV
           principals.

           ,QDGGLWLRQWRWKHVHUHVSRQVLELOLWLHVWKH)$5$XQLWIUHTXHQWO\UHFHLYHV
           In addition to these responsibilities, the FARA unit frequently receives
           DQGUHVSRQGVWRLQIRUPDOFDOOVDQGHPDLOVIURPZKDW+817GHVFULEHGDVWKH
           and responds to informal calls and emails from what HUNT described as the
           )$5$EDUDWWRUQH\VDQGILUPVZLWKHVWDEOLVKHGH[SHUWLVHLQWKHILHOG
           "FARA bar" - attorneys and firms with established expertise in the field
           ZKRUHSUHVHQWPXOWLSOHUHJLVWUDQWV7KH)$5$EDULQFOXGHVODZILUPVVXFK
           who represent multiple registrants. The FARA bar includes law firms such
           DV3HUNLQV&RLH&RYLQJWRQ
           as Perkins Coie, Covington & %XUOLQJ:LOH\5HLQDQG$NLQ*XPSDVZHOO
                                         Burling, Wiley Rein, and Akin Gump, as well
           DVLQGLYLGXDOVVXFKDV.(1*5266DW6NDGGHQ$USV
           as individuals such as KEN GROSS at Skadden Arps.

           +817UHFHLYHVDFDOODOPRVWHYHU\GD\IURPVRPHRQHVHHNLQJJXLGDQFHDERXW
           HUNT receives a call almost every day from someone seeking guidance about
           DSRVVLEOHREOLJDWLRQWRUHJLVWHU+817HVVHQWLDOO\UHFLWHVWKH)$5$
           a possible obligation to register; HUNT essentially recites the FARA
           VWDWXWHWRSRWHQWLDOUHJLVWUDQWVDQGPLJKWDGYLVHWKHPWRUHJLVWHULILW
           statute  to potential registrants and might advise them to register if it
           VRXQGVOLNHDVODPGXQNFDVHEXWVKHZRXOGQHYHUWHOOVRPHRQHWKDWWKH\
           sounds  like a "slam dunk" case, but she would never tell someone that they
           GLGQ WKDYHWRUHJLVWHURYHUWKHSKRQH+817GRHVQRWOLNHUHVSRQGLQJ
           didn't  have to register over the phone. HUNT does not like responding
           GHILQLWLYHO\WRK\SRWKHWLFDOVFHQDULRVDQGVKHJHQHUDOO\LQVLVWVWKDWWKH
           definitively  to hypothetical scenarios, and she generally insists that the
           DWWRUQH\VVXEPLWIRUPDO5XOHUHTXHVWVLQVWHDG7KHXQLWKDVUHFHLYHG
           attorneys  submit formal "Rule 2" requests instead. The unit has received
           WHQ5XOHUHTXHVWVLQ
           ten "Rule 2" requests in 2018.

           :KHQWKHSURJUDPVSHFLDOLVWVRUDWWRUQH\VLQWKHXQLWGLVFRYHULQIRUPDWLRQ
           When  the program specialists or attorneys in the unit discover information
           WKDWVXJJHVWVDQLQGLYLGXDORUHQWLW\PLJKWEHUHTXLUHGWRUHJLVWHUXQGHU
           that  suggests an individual or entity might be required to register under
           WKHVWDWXWHWKHXQLWJHQHUDWHVD3RVVLEOH2EOLJDWLRQ/HWWHU
           the                                                              32/ 
                statute, the unit generates a "Possible Obligation Letter" (POL)
           VHHNLQJDGGLWLRQDOLQIRUPDWLRQDERXWWKHDFWLYLWLHVDWLVVXH7KH
           seeking  additional information about the activities at issue. The
           LQIRUPDWLRQWKDWWULJJHUVD32/PLJKWFRPHIURPSXEOLFO\DYDLODEOHPHGLD
           information  that triggers a POL might come from publicly available media
           UHSRUWVWKHUHJLVWUDWLRQVWDWHPHQWVRIRWKHUUHJLVWUDQWVRUFRPSODLQWV
           reports,  the registration statements of other registrants, or complaints
           IURPWKHSXEOLF+817UHYLHZVDOO32/VDQGHVWLPDWHGWKHXQLWKDGDOUHDG\
           from  the public. HUNT reviews all POLs and estimated the unit had already
           VHQWRXWWZHQW\32/VLQ
           sent  out twenty POLs in 2018.

           1RWKLQJLQWKH)$5$VWDWXWHFRPSHOVWKHSRWHQWLDOUHJLVWUDQWWRUHVSRQGWR
           Nothing in the FARA statute compels the potential registrant to respond to
           D32/EXW+817VDLGWHQRXWRIWHQ32/VUHFHLYHDUHSO\7KH)$5$XQLW
           a POL, but HUNT said "ten out of ten" POLs receive a reply. The FARA unit
           UHYLHZVWKHLQIRUPDWLRQSURYLGHGE\WKHSRWHQWLDOUHJLVWUDQWDQG
           reviews the information provided by the potential registrant and
           GHWHUPLQHVZKHWKHUUHJLVWUDWLRQLVUHTXLUHG7KHSURFHVVRIWHQLQYROYHV
           determines whether registration is required. The process often involves
           DGGLWLRQDOFRUUHVSRQGHQFHEHWZHHQWKHXQLWDQGWKHSRWHQWLDOUHJLVWUDQW
           additional correspondence between the unit and the potential registrant
           DQGVRPHWLPHVUHTXLUHVDQLQSHUVRQPHHWLQJZLWKWKHSRWHQWLDO
           and sometimes requires an in-person meeting with the potential
           UHJLVWUDQW VUHSUHVHQWDWLYHV,IWKHXQLWGRHVQRWGHYHORSVXIILFLHQW
           registrant's representatives. If the unit does not develop sufficient



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Continuation of FD-302 of (U) Interview of Heather Hunt         ,2Q
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                                                                                             of 9

           LQIRUPDWLRQWRUHDFKDGHWHUPLQDWLRQHLWKHUZD\LWPLJKWOHWDQLQTXLU\
           information to reach a determination either way, it might let an inquiry
           VLPPHUXQWLOQHZLQIRUPDWLRQMXVWLILHVUHFRQWDFWLQJWKHSRWHQWLDO
           "simmer" until new information justifies re-contacting the potential
           UHJLVWUDQW
           registrant.

           ,IWKHXQLWFRQFOXGHVWKDWUHJLVWUDWLRQLVUHTXLUHGXQGHUWKHVWDWXWH
           If the unit concludes that registration is required under the statute,
           +817VHQGVD0XVW5HJLVWHUOHWWHUWKDWH[SODLQVWKHOHJDOEDVLVRIWKH
           HUNT sends a "Must Register" letter that explains the legal basis of the
           GHFLVLRQ1RRQHKDVHYHULJQRUHGD0XVW5HJLVWHUOHWWHUDQGIDLOHGWR
           decision. No one has ever ignored a "Must Register" letter and failed to
           UHJLVWHUEXWRQFHRUWZLFHD\HDUDSRWHQWLDOUHJLVWUDQWZLOOUHTXHVWD
           register, but, once or twice a year, a potential registrant will request a
           IROORZXSPHHWLQJWRGLVSXWHWKHXQLW
           follow-up                             VFRQFOXVLRQ6XFKDPHHWLQJPLJKW
                     meeting to dispute the unit's conclusion. Such a meeting might
           FRQYLQFHWKH)$5$XQLWWKDWUHJLVWUDWLRQLVQRWUHTXLUHGRUWKHSRWHQWLDO
           convince the FARA unit that registration is not required, or the potential
           UHJLVWUDQWPD\XOWLPDWHO\GHFLGHWRFHDVHWKHDFWLYLW\DWLVVXHWRDYRLG
           registrant may ultimately decide to cease the activity at issue to avoid
           WKHREOLJDWLRQWRUHJLVWHU
           the obligation to register.

           7KHUHLVQRSHQDOW\XQGHUWKHVWDWXWHIRUODWHRUUHWURDFWLYH
           There is no penalty under the statute for late or retroactive
           UHJLVWUDWLRQEXWWKH)$5$XQLWFRXOGVHHNLQMXQFWLYHUHOLHILIVRPHRQH
           registration, but the FARA unit could seek injunctive relief if someone
           UHIXVHGWRUHJLVWHUDQGZLOOIXOIDLOXUHWRUHJLVWHULVDFULPLQDO
           refused to register, and "willful failure" to register is a criminal
           YLRODWLRQWKDWKDVEHHQSURVHFXWHGIRXURUILYHWLPHVVLQFH6KRUWRI
           violation that has been prosecuted four or five times since 2007. Short of
           VHHNLQJLQMXQFWLYHUHOLHI+817RQFHDVNHGDQ$VVLVWDQW$WWRUQH\*HQHUDO
           seeking injunctive relief, HUNT once asked an Assistant Attorney General
           WRVHQGD0XVW5HJLVWHUOHWWHUWRDUHFDOFLWUDQWSRWHQWLDOUHJLVWUDQW
           to send a "Must Register" letter to a recalcitrant potential registrant.

           +817 VJRDOWKURXJKRXWWKHVHH[FKDQJHVLVWRJHWSHRSOHUHJLVWHUHGVKH
           HUNT's goal, throughout these exchanges, is to get people registered - she
           LVQRWORRNLQJIRUJRWFKDPRPHQWV
           is not looking for "gotcha" moments.

           7DE6'1<B
           Tab 1 - SDNY 00030-33

           +817UHYLHZHGDVHULHVRIHPDLOVH[FKDQJHGRQEHWZHHQKHUVHOI
           HUNT reviewed a series of emails exchanged on 12/14/12 between herself,
           .(9,1&2112//<7,027+<38*+DQG$/(;08''ZLWKWKHVXEMHFWOLQH
           KEVIN CONNOLLY, TIMOTHY PUGH, and ALEX MUDD with the subject line
           7\PRVKHQNR6NDGGHQ
           "Tymoshenko            3RVVLEOH2EOLJDWLRQ"
                       - Skadden (Possible             
                                           Obligation?)".

           +817GHVFULEHGWKLVHPDLOFKDLQDVLOOXVWUDWLYHRIWKHXQLW VGHOLEHUDWLYH
           HUNT described this email chain as illustrative of the unit's deliberative
           SURFHVV,QWKLVFDVH08''IRXQGDQGIRUZDUGHGDQDUWLFOHDERXW6NDGGHQ V
           process. In this case, MUDD found and forwarded an article about Skadden's
           UHSRUWRQWKH<XOLD7\PRVKHQNRFDVH
           report                               WKH6$5HSRUW
                  on the Yulia Tymoshenko case (the           %HFDXVHWKH6$5HSRUW
                                                    SA Report). Because the SA Report
           ZDVZULWWHQDWWKHUHTXHVWRIWKH*RYHUQPHQWRI8NUDLQHDQGGLVVHPLQDWHG
           was written at the request of the Government of Ukraine and disseminated
           LQWKH8QLWHG6WDWHVLWDSSHDUHGWR+817WKDWLWPLJKWFRQVWLWXWH
           in the United States, it appeared to HUNT that it might constitute
           UHJLVWUDEOHDFWLYLW\XQGHUWKH)$5$VWDWXWH
           registrable activity under the FARA statute.

           ,Q+817
           In HUNT'sVUHSO\WR08''VKHZURWHWKDWVKHZDV>W@HPSWHGWRFDOOWKHP
                      reply to MUDD, she wrote that she was "[t]empted to call them
           WRGD\EHFDXVHVKHVSRNHWR.(1*5266VRIUHTXHQWO\+817LVVXUHVKH
           today" because she spoke to KEN GROSS so frequently. HUNT is sure she
           GLGQ WDFWXDOO\FDOOEHFDXVHVKHKDGQRYRLFHEXWLWZRXOGQRWKDYHEHHQ
           didn't  actually call because she had no voice, but it would not have been
           XQXVXDOIRUKHUWRPHQWLRQWKHDUWLFOHWR*5266OHWKLPNQRZWKDWD32/
           unusual  for her to mention the article to GROSS, let him know that a POL
           ZDVEHLQJSUHSDUHGDQGKHDUKLVLQLWLDOUHDFWLRQ
           was being prepared, and hear his initial reaction.




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Continuation of FD-302 of ( 8
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                                  Interview of Heather Hunt           ,2Q
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           +817UHYLHZHGWKHIXOO6$5HSRUWDURXQGWKHWLPHRIWKLVHPDLOFKDLQ7KH
           HUNT reviewed the full SA Report around the time of this email chain. The
           PRVWLPSRUWDQWIDFWRUWRFRQVLGHUZDVZKRZDVGLUHFWLQJRUFRQWUROOLQJWKH
           most important factor to consider was who was directing or controlling the
           DFWLYLWLHVDWLVVXHDQGWKHSXUSRVHRIWKH32/ZDVWRGHWHUPLQHZKR
           activities  at issue, and the purpose of the POL was to determine who
           VSRQVRUHGWKHSXEOLFDWLRQRIWKH6$5HSRUW
           sponsored  the publication of the SA Report.

           7DE6'1<B
           Tab 2 - SDNY 00017

           +817UHYLHZHGWKH32/GDWHGZKLFKZDVVLJQHGE\KHUDQG
           HUNT reviewed the POL dated 12/18/12, which was signed by her and
           DGGUHVVHGWR6NDGGHQ VPDQDJLQJGLUHFWRULQ1HZ<RUN
           addressed to Skadden's managing director in New York.

           +817VDLG32/VDUHIRUPOHWWHUVWKDWKDYHORRNHGJHQHUDOO\WKHVDPHIRU
           HUNT  said POLs are form letters that have looked generally the same for 33
           \HDUV7ZRRIWKHIRXULQIRUPDWLRQUHTXHVWV  UHJDUGLQJRZQHUVKLSRIWKH
           years. Two of the four information requests (regarding  ownership of the
           ILUPDQGWKHQDWXUHRIWKHILUP
           firm                             VEXVLQHVV
                 and the nature of the firm's          ZHUHQRWUHOHYDQWKHUHEHFDXVH
                                              business) were not relevant here because
           WKHXQLWZDVYHU\IDPLOLDUZLWK6NDGGHQEXWWKHILQDOWZRUHTXHVWVZHUH
           the  unit was very familiar with Skadden, but the final two requests were
           FULWLFDOWRHVWDEOLVKLQJZKHWKHUDQDJHQF\UHODWLRQVKLSH[LVWHGEHWZHHQ
           critical  to establishing whether an agency relationship existed between
           8NUDLQHDQG6NDGGHQ
           Ukraine               DGHVFULSWLRQRIWKHILUP
                    and Skadden (a                         VDFWLYLWLHVRQEHKDOIRI
                                   description of the firm's activities on behalf of
           WKH*RYHUQPHQWRI8NUDLQHRUDQ\RWKHUIRUHLJQHQWLW\DQGLQIRUPDWLRQ
           the  Government of Ukraine or any other foreign entity, and information
           UHJDUGLQJWKHWHUPVDQGFRQGLWLRQVRIDQ\ZULWWHQRURUDODJUHHPHQW
           regarding                                                            
                      the terms and conditions of any written or oral agreement).

           7DE6'1<B
           Tab 3 - SDNY 00550-551

           +817UHYLHZHGDQHPDLOIURP08''GDWHGZLWKWKHVXEMHFWOLQH)<,
           HUNT reviewed an email from MUDD dated 01/03/13 with the subject line "FYI-
           6NDGGHQ5HVSRQVHH[SHFWHGQH[WZHHN
           Skadden                              7\PRVKHQNR LQZKLFK08''QRWHG
                   Response expected next week (Tymoshenko)", in which MUDD noted
           WKDW/$:5(1&(63,(*(/IURP6NDGGHQKDGOHIWDYRLFHPDLOUHJDUGLQJWKH32/
           that LAWRENCE SPIEGEL from Skadden had left a voicemail regarding the POL.

           +817GRHVQRWEHOLHYHDQ\RQHUHWXUQHG63,(*(/
           HUNT                                           VFDOOWKHUHZRXOGKDYH
                 does not believe anyone returned SPIEGEL's call; there would have
           EHHQQRUHDVRQWRFDOOKLPEDFNWKHXQLWZDVPRUHLQWHUHVWHGLQUHFHLYLQJ
           been  no reason to call him back, the unit was more interested in receiving
           WKHUHVSRQVHWRWKH32/+817GRHVQRWUHFDOOGHDOLQJZLWK63,(*(/PXFK
           the  response to the POL. HUNT does not recall dealing with SPIEGEL much,
           LIDWDOOSULRUWRWKLVPDWWHU
           if  at all, prior to this matter.

           7DE6'1<B
           Tab 4 - SDNY 00552-553

           +817UHYLHZHGDQHPDLOIURP08''GDWHGZLWKWKHVXEMHFWOLQH
           HUNT  reviewed an email from MUDD dated 01/16/13 with the subject line
           83'$7(7\PRVKHQNR&DVH6NDGGHQ5HSRUWLQZKLFK08''QRWHGWKH
           "UPDATE:  Tymoshenko Case - Skadden Report", in which MUDD noted the 01/13
           UHJLVWUDWLRQVRI$UQDOO*ROGHQ*UHJRU\DQG7DX]LQ&RQVXOWDQWV
           /13  registrations of Arnall Golden Gregory and Tauzin Consultants.

           (ILOHG)$5$UHJLVWUDWLRQVDUHUHYLHZHGE\FDVHPDQDJHUVIRUVXIILFLHQF\
           E-filed  FARA registrations are reviewed by case managers for sufficiency
           DVDPDWWHURIURXWLQH:KHQUHYLHZLQJWKH$UQDOO*ROGHQ*UHJRU\DQG
           as a matter of routine. When reviewing the Arnall Golden Gregory and
           7DX]LQ&RQVXOWDQWVILOLQJV08''QRWLFHGDUHIHUHQFHWRWKH6$5HSRUWDQG
           Tauzin Consultants filings, MUDD noticed a reference to the SA Report and
           EURXJKWLWWR+817
           brought             VDWWHQWLRQ+817GRHVQRWUHFDOOZKHWKHUDQ\
                    it to HUNT's attention. HUNT does not recall whether any
           DGGLWLRQDOLQIRUPDWLRQUHJDUGLQJWKH6$5HSRUWZDVLQFOXGHGLQWKH$UQDOO
           additional information regarding the SA Report was included in the Arnall
           *ROGHQ*UHJRU\DQG7DX]LQ&RQVXOWDQWVILOHVEXWYROXQWHHUHGWRORRNLQWR
           Golden  Gregory and Tauzin Consultants files, but volunteered to look into
           LWDQGIROORZXSZLWKWKHLQWHUYLHZLQJDWWRUQH\V
           it and follow-up with the interviewing attorneys.

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           Tab 5 - SDNY 00679-713
                                                81&/$66,),(')282
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                                          81&/$66,),(')282
                                          UNCLASSIFIED//FOUO


&RQWLQXDWLRQRI)'RI  8 ,QWHUYLHZRI+HDWKHU+XQW
Continuation of FD-302 of (U) Interview of Heather Hunt         ,2Q
                                                                   On    ,page
                                                                        05/15/2018 3DJH 5
                                                                                           RI
                                                                                             of 9


           +817UHYLHZHG6NDGGHQ VUHVSRQVHWRWKH32/ZKLFKZDVDGGUHVVHG
           HUNT reviewed Skadden's 02/06/13 response to the POL, which was addressed
           WR+HOHQ+XQW>VLF@DQGVLJQHGE\*5(*25<&5$,*+817VDLGVKHDQG.(9,1
           to "Helen Hunt" [sic] and signed by GREGORY CRAIG. HUNT said she and KEVIN
           &2112//<ZRXOGKDYHERWKUHYLHZHGWKHOHWWHUXSRQUHFHLSWLQ
           CONNOLLY would have both reviewed the letter upon receipt in 2013.

           +817ZDVGLUHFWHGWR&5$,* VUHVSRQVHWRTXHVWLRQWKUHHLQZKLFKKH
           HUNT was directed to CRAIG's response to question three, in which he
           VWDWHG7KH)LUPLQVLVWHGRQFRPSOHWHLQGHSHQGHQFH+817VDLGWKH
           stated, "The Firm insisted on complete independence...". HUNT said the
           TXHVWLRQRILQGHSHQGHQFHZDVUHOHYDQWWRKHUDQDO\VLVEHFDXVHLI6NDGGHQ
           question of independence was relevant to her analysis because if Skadden
           KDGVLPSO\ZULWWHQWKHUHSRUWDQGJLYHQWKHILQLVKHGSURGXFWWRWKH
           had simply written the report and given the finished product to the
           JRYHUQPHQWWKHUHZRXOGEHQRREOLJDWLRQWRUHJLVWHUXQGHU)$5$
           government, there would be no obligation to register under FARA.

           +817ZDVDVNHGZKHWKHULWZRXOGDIIHFWKHUYLHZRQWKHTXHVWLRQRI
           HUNT was asked whether it would affect her view on the question of
           LQGHSHQGHQFHLI6NDGGHQKDGGLVFORVHGWKDWWKHILUPZDVDOVRDVVLVWLQJWKH
           independence  if Skadden had disclosed that the firm was also assisting the
           8NUDLQLDQ0LQLVWU\RI-XVWLFHZLWKSUHSDUDWLRQVIRUDQRWKHUWULDORI
           Ukrainian  Ministry of Justice with preparations for another trial of
           7\PRVKHQNR+817VDLGWKDWZDVVRPHWKLQJWKDWVKRXOGKDYHEHHQGLVFORVHG
           Tymoshenko. HUNT said that was something that should have been disclosed
           LQUHVSRQVHWRWKH32/
           in response to the POL'sVTXHVWLRQUHJDUGLQJWKHDFWLYLWLHVWKHILUPKDV
                                     question regarding "the activities the firm has
           HQJDJHGLQRUWKHVHUYLFHVLWKDVUHQGHUHGWR8NUDLQH7KHTXHVWLRQZDV
           engaged in or the services it has rendered" to Ukraine. The question was
           SKUDVHGLQJHQHUDOWHUPVIRUDUHDVRQ6NDGGHQKRZHYHUOLPLWHGLWV
           phrased in general terms for a reason; Skadden, however, limited its
           UHVSRQVHVSHFLILFDOO\WRWKH6$5HSRUW
           response  specifically to the SA Report.

           +817 VXQLWGRHVQRWKDYHWKHUHVRXUFHVWRLQYHVWLJDWHTXHVWLRQVOLNHWKH
           HUNT's unit does not have the resources to investigate questions like the
           LQGHSHQGHQFHRIWKH6$5HSRUWRQLWVRZQWKH)$5$XQLWUHOLHVRQ
           independence of the SA Report on its own; the FARA unit relies on
           SRWHQWLDOUHJLVWUDQWV
           potential registrants'UHVSRQVHVWRLWV32/VDQGPRUHLQIRUPDWLRQLV
                                  responses to its POLs, and more information is
           DOZD\VEHWWHUWKDQWKHDOWHUQDWLYH
           always better than the alternative.

           7KHUHIHUHQFHWRWKHSULYDWHFLWL]HQZKRFRQWULEXWHGIXQGLQJIRUWKH6$
           The reference to the "private citizen" who contributed funding for the SA
           5HSRUW(page
           Report  SDJHRI&5$,* VOHWWHU
                        3 of CRAIG's letter)PDGH+817FXULRXVWROHDUQPRUH
                                             made HUNT curious to learn more.
           &RPSHQVDWLRQLVRQHRIVHYHUDOIDFWRUVUHOHYDQWWRGHWHUPLQLQJZKRLV
           Compensation is one of several factors relevant to determining who is
           FDOOLQJWKHVKRWVVRWKLVUHVSRQVHOHIWRSHQWKHTXHVWLRQDVWRZKRZDV
           calling the shots, so this response left open the question as to who was
           GLUHFWLQJWKHDFWLYLWLHVDWLVVXH
           directing the activities at issue.

           7DE6'1<B
           Tab 6 - SDNY 00561-562

           +817UHYLHZHGDQHPDLOZLWKWKHVXEMHFWOLQH)Z<XOLD7\PRVKHQNR
           HUNT reviewed an email with the subject line "Fw: Yulia Tymoshenko:
           8NUDLQLDQDXWKRULWLHVPXVWEHKHOGUHVSRQVLEOHIRUFRUUXSWGHDOVZKLFK
           Ukrainian authorities must be held responsible for corrupt deals", which
           VKHIRUZDUGHGWR7+20$65(,//<DQG67(9(13(/$.RQ
           she forwarded to THOMAS REILLY and STEVEN PELAK on 02/25/13.

           +817IRUZDUGHGWKHDUWLFOHUHJDUGLQJ7\PRVKHQNR VDOOHJDWLRQWKDW6NDGGHQ
           HUNT forwarded the article regarding Tymoshenko's  allegation that Skadden
           UHFHLYHGPLOOLRQIRUWKH6$5HSRUWWRWKH$FWLQJ&KLHIVRIWKH
           received $1.5-2 million for the SA Report to the Acting Chiefs of the
           '2- V&RXQWHULQWHOOLJHQFHDQG([SRUW&RQWURO6HFWLRQIRUWKHLU
           DOJ's Counterintelligence and Export Control Section for their
           LQIRUPDWLRQ+817ZDVPRUHLQWHUHVWHGLQ6NDGGHQ
           information. HUNT was more interested in Skadden'sVDFWLYLWLHVRQEHKDOIRI
                                                               activities on behalf of
           8NUDLQHWKDQWKHDFFXVDWLRQVRIFRUUXSWLRQLQWKHSD\PHQWSURFHVVEHFDXVH
           Ukraine than the accusations of corruption in the payment process, because
           6NDGGHQKDGDOUHDG\DGPLWWHGWKDWLWZDVKLUHGE\8NUDLQH%XWLI6NDGGHQ
           Skadden had already admitted that it was hired by Ukraine. But if Skadden
           DQG8NUDLQHZHUHDWWHPSWLQJWRKLGHWKHVRXUFHRIWKHIXQGLQJLWFRXOGEH
           and Ukraine were attempting to hide the source of the funding, it could be
           UHOHYDQWWRWKHDQDO\VLV
           relevant to the analysis.

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Continuation of FD-302 of ( 8
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                                  Interview of Heather Hunt           ,2Q
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                                                                              05/15/2018   , page
                                                                                           3DJH   6
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           7KH)$5$XQLW
           The FARA unit'sVSULPDU\IRFXVLVZKHWKHUDQDJHQF\UHODWLRQVKLSH[LVWHG
                            primary focus is whether an agency relationship existed
           DQGZKHWKHU6NDGGHQSHUIRUPHGDQ\SROLWLFDODFWLYLWLHVDVGHILQHGE\WKH
           and  whether Skadden performed any political activities as defined by the
           VWDWXWH,QWKDWUHJDUGWKH)$5$VWDWXWHLVFRQWHQWQHXWUDOEHFDXVHDQ\
           statute.  In that regard, the FARA statute is content-neutral because any
           W\SHRIUHSRUWZKHWKHULQGHSHQGHQWRUQRWFRXOGKDYHEHHQLQWHQGHGWR
           type  of report, whether independent or not, could have been intended to
           LQIOXHQFHWKH86SXEOLF7KHTXHVWLRQLVZKDW6NDGGHQGLGZLWKWKH
           influence  the U.S. public. The question is what Skadden did with the
           UHSRUW
           report.

           +817ZDVDVNHGZKHWKHULWZRXOGFKDQJHKHUDQDO\VLVLIWKH*RYHUQPHQWRI
           HUNT was asked whether it would change her analysis if the Government of
           8NUDLQHKDGZULWWHQLWVRZQUHSRUWDQGSDLG6NDGGHQIRUWKHXVHRILWV
           Ukraine had written its own report and paid Skadden for the use of its
           QDPHDQGFUHGLELOLW\+817VDLGWKDWFRXOGFRQVWLWXWHSROLWLFDODFWLYLW\
           name and credibility. HUNT said that could constitute political activity.

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           Tab 7 - SDNY 00576-577

           +817GLGQRWUHPHPEHUWKHFDOOEHWZHHQ.(1*5266DQG.(9,1&2112//<
           HUNT did not remember the call between KEN GROSS and KEVIN CONNOLLY
           UHIHUHQFHGLQWKHHPDLOV
           referenced in the 04/03/13 - 04/04/13 emails.

           7DE6'1<B
           Tab 8 - SDNY 00012-14

           +817UHYLHZHGWKHOHWWHUZKLFKZDVVLJQHGE\KHUDQGDGGUHVVHG
           HUNT reviewed the 04/09/13 letter, which was signed by her and addressed
           WR&5$,*WKHOHWWHULQFOXGHGVHYHQDGGLWLRQDOUHTXHVWVIRULQIRUPDWLRQ
           to CRAIG; the letter included seven additional requests for information,
           ZKLFKZHUHGLVFXVVHGLQWKHFRQWH[WRI&5$,* VVXEVHTXHQWUHSO\
           which were discussed in the context of CRAIG's subsequent reply.

           +817SRLQWHGWRWKHSDUDJUDSKVLQTXLULQJDERXW6NDGGHQ
           HUNT                                                   VIHHDUUDQJHPHQW
                pointed to the paragraphs inquiring about Skadden's fee arrangement
           ZLWKWKH0LQLVWU\RI-XVWLFHDQGWKHXQVSHFLILHGDPRXQWVUHFHLYHGIURPWKH
           with the Ministry of Justice and the unspecified amounts received from the
           SULYDWHFLWL]HQ+817VDLGVKHZRXOGQ
           "private                                WKDYHLQFOXGHGDOORIWKDWLIWKH
                    citizen". HUNT said she wouldn't have included all of that if the
           TXHVWLRQRIIXQGLQJKDGQ
           question                 WEHHQUHOHYDQWWRKHUDQDO\VLV
                    of funding hadn't been relevant to her analysis.

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           Tab 9 - SDNY 00044-53

           +817UHYLHZHG6NDGGHQ
           HUNT                  VUHVSRQVHOHWWHUZKLFKZDVVLJQHGE\
                reviewed Skadden's 06/03/13 response letter, which was signed by
           &5$,*
           CRAIG.

           +817ZDVGLUHFWHGWR&5$,*
           HUNT was directed to CRAIG'sVVWDWHPHQWRQSDJHWKDWWKHSULYDWHFLWL]HQ
                                         statement on page 2 that the private citizen
           ZKRIXQGHGWKH6$5HSRUWKDGQRFRQQHFWLRQWRWKHSURMHFWZKDWVRHYHU
           who funded the SA Report "had no connection to the project whatsoever",
           DQGWKXVKLVLGHQWLW\ZRXOGQRWEHGLVFORVHG+817ZDVDVNHGZKHWKHUWKH
           and thus his identity would not be disclosed. HUNT was asked whether the
           )$5$XQLWZRXOGKDYHZDQWHGWRNQRZLIWKDWLQGLYLGXDOPHWZLWK6NDGGHQ
           FARA unit would have wanted to know if that individual met with Skadden
           DQGGLUHFWHGWKHLUDFWLYLWLHVUHODWHGWRWKHUHOHDVHRIWKH6$5HSRUW
           and directed their activities related to the release of the SA Report.
           +817VDLGRIFRXUVHWKDWZRXOGEHUHOHYDQWPD\EHWKHLQGLYLGXDOZDVD
           HUNT said of course that would be relevant; maybe the individual was a
           IRUHLJQSULQFLSDOKLPVHOIRUPD\EHKHZDVEHLQJGLUHFWHGE\WKH
           foreign  principal himself, or maybe he was being directed by the
           *RYHUQPHQWRI8NUDLQH&RRUGLQDWLQJWKHUHOHDVHRIWKH6$5HSRUWZRXOGEH
           Government  of Ukraine. Coordinating the release of the SA Report would be
           SXEOLFUHODWLRQVDFWLYLW\XQGHUWKHVWDWXWH
           public  relations activity under the statute.

           6NDGGHQGLGQRWSURYLGHDQ\LQIRUPDWLRQOLNHWKDWEXW+817VWLOOSURGXFHG
           Skadden  did not provide any information like that, but HUNT still produced
           D0XVW5HJLVWHUOHWWHUEDVHGRQWKHLQIRUPDWLRQFRQWDLQHGLQ6NDGGHQ
           a "Must Register" letter based on the information contained in Skadden'sV
                                                                                     06
           UHVSRQVH7KH)$5$VWDWXWHKDVVHYHUDOIDFHWVDQGRQO\RQHKDVWR
           /03/13  response. The FARA statute has several facets, and only one has to

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&RQWLQXDWLRQRI)'RI  8 ,QWHUYLHZRI+HDWKHU+XQW
Continuation of FD-302 of (U) Interview of Heather Hunt         ,2Q
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           EHVDWLVILHGWRWULJJHUUHJLVWUDWLRQ7KHXQLWFRQFOXGHGWKDWUHJLVWUDWLRQ
           be satisfied to trigger registration. The unit concluded that registration
           ZDVQHFHVVDU\EHFDXVH6NDGGHQGLVVHPLQDWHGWKHUHSRUWWRWKUHH
           was necessary because Skadden disseminated the report to three
           MRXUQDOLVWVLIWKHXQLWKDGEHHQDZDUHRIRWKHUIDFWVLWPLJKWKDYH
           journalists; if the unit had been aware of other facts, it might have
           FRQFOXGHGWKDW6NDGGHQZDVHQJDJHGLQDGLIIHUHQWNLQGRISROLWLFDO
           concluded that Skadden was engaged in a different kind of political
           DFWLYLW\DQGUHTXLUHGUHJLVWUDWLRQRQWKRVHJURXQGV
           activity and required registration on those grounds.

           +817H[SHFWVSRWHQWLDOUHJLVWUDQWVWREHWUXWKIXODQGFRPSOHWHLQWKHLU
           HUNT expects potential registrants to be truthful and complete in their
           UHVSRQVHVWR32/VEHFDXVHWKDW
           responses                       VDOOWKHXQLWKDVWRJRRQ6RPHWLPHV
                     to POLs, because that's all the unit has to go on. Sometimes
           RWKHULQIRUPDWLRQFRPHVRXWODWHULQWKHPHGLDEXWWKH)$5$XQLWGRHVQ W
           other information comes out later in the media, but the FARA unit doesn't
           DOZD\VKDYHWKHIXOOSLFWXUHZKHQLWPDNHVLWVGHWHUPLQDWLRQV
           always have the full picture when it makes its determinations.

           ,I6NDGGHQKDGGLVFORVHGWKDWLWZDVLQYROYHGLQ86PHGLDVWUDWHJ\+817
           If  Skadden had disclosed that it was involved in U.S. media strategy, HUNT
           VDLGLWZRXOGKDYHEHHQDVODPGXQNFDVH+817ZRXOGKDYHWROG6NDGGHQWR
           said it would have been a slam dunk case. HUNT would have told Skadden to
           UHJLVWHULIWKH\KDGDGYLVHGRUPDGHDQ\UHFRPPHQGDWLRQVZLWKUHVSHFWWR
           register  if they had advised or made any recommendations with respect to
           WKHUROORXWRIWKH6$5HSRUWLQWKH86PHGLD
           the  roll-out of the SA Report in the U.S. media.

           6NDGGHQUHSUHVHQWHGWKDWLWPDGHQRVWDWHPHQWVRUFRPPHQWVWRWKHPHGLD
           Skadden represented that it made no statements or comments to the media
           RWKHUWKDQWRFRUUHFWHUURUVEXWLIWKHILUPKDGEHHQEDFNJURXQGLQJ
           other than to correct errors, but if the firm had been "backgrounding"
           UHSRUWHUVLQWKH86DERXWWKH6$5HSRUWWKDWZRXOGKDYHEHHQ
           reporters in the U.S. about the SA Report, that would have been
           UHJLVWUDEOHDFWLYLW\
           registrable activity.

           +817ZDVGLUHFWHGWR6NDGGHQ
           HUNT was directed to Skadden'sVUHVSRQVHWRWKHILUVWTXHVWLRQ 7RZKRP
                                           response to the first question ("To whom,
           LIDQ\RQHGLG\RXUILUPUHOHDVHRUGLVWULEXWHWKHUHSRUWDQGZKHQ"
           if anyone, did your firm release or distribute the report and when?")DQG
                                                                                  and
           DVNHGZKHWKHU6NDGGHQVKRXOGKDYHGLVFORVHGDQ\OREE\LQJRUSXEOLF
           asked whether Skadden should have disclosed any lobbying or public
           UHODWLRQVILUPVWRZKLFKLWPLJKWKDYHSURYLGHGWKH6$5HSRUW+817ZDQWHG
           relations  firms to which it might have provided the SA Report. HUNT wanted
           WRNQRZHYHU\RQH6NDGGHQSURYLGHGWKH6$5HSRUWWRLIWKDWKDGKDSSHQHG
           to know everyone Skadden provided the SA Report to, if that had happened,
           DQGWKDW
           and that'sVZK\WKHTXHVWLRQZDVSRVHGEURDGO\
                       why the question was posed broadly.

           7DEVDQG6'1<B
           Tabs 10 and 11 - SDNY 00598-624

           +817UHYLHZHGVHYHUDOGUDIWVRIWKH0XVW5HJLVWHUOHWWHUWKDWZHUH
           HUNT reviewed several drafts of the "Must Register" letter that were
           SUHSDUHGLQ-XO\DQG$XJXVW+817EHOLHYHGWKDWWKHGUDIWLQJSURFHVV
           prepared in July and August 2013. HUNT believed that the drafting process
           RIWKLVOHWWHUZDVYHU\W\SLFDODQGVKHGLGQRWUHFDOODQ\DGGLWLRQDO
           of this letter was very typical and she did not recall any additional
           FRQWDFWZLWK6NDGGHQGXULQJWKDWSHULRG
           contact with Skadden during that period.

           7DE6'1<B
           Tab 12 - SDNY 00015-16

           +817UHYLHZHGWKHILQDOYHUVLRQRIWKH0XVW5HJLVWHUOHWWHUWKDWZDV
           HUNT reviewed the final version of the "Must Register" letter that was
           WUDQVPLWWHGWR6NDGGHQRQ
           transmitted to Skadden on 09/05/13.

           +817DQG.(9,1&2112//<GUDIWHGWKH0XVW5HJLVWHUOHWWHUDQGWKH\EDVHG
           HUNT and KEVIN CONNOLLY drafted the "Must Register" letter, and they based
           WKHLUGHFLVLRQRQWKHIDFWVSURYLGHGE\6NDGGHQGXULQJWKHLU
           their decision on the facts provided by Skadden during their
           FRUUHVSRQGHQFHZLWKWKH)$5$XQLWDVZHOODVSXEOLFVRXUFHLQIRUPDWLRQ
           correspondence with the FARA unit, as well as public source information.
           7KHNH\IDFWUHTXLULQJUHJLVWUDWLRQZDV6NDGGHQ VGLVVHPLQDWLRQRIWKH6$
           The key fact requiring registration was Skadden's dissemination of the SA
           5HSRUWWRWKHPHGLD
           Report to the media.

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                                                                                      USA-0007556
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                                                81&/$66,),(')282
                                                UNCLASSIFIED//FOUO


Continuation of FD-302 of ( 8
&RQWLQXDWLRQRI)'RI   U)   ,QWHUYLHZRI+HDWKHU+XQW
                                  Interview of Heather Hunt           ,2Q
                                                                         On   
                                                                              05/15/2018      page 8
                                                                                           ,3DJH  RI
                                                                                                      of 9

           +817ZDVDVNHGZKDWFKDQJHGLQWKH)$5$XQLW
           HUNT                                          VDQDO\VLVEHWZHHQWKH
                 was asked what changed in the FARA unit's analysis between the
           LVVXDQFHRIWKH0XVW5HJLVWHUOHWWHULQ6HSWHPEHUDQGWKH1R
           issuance  of the "Must Register" letter in September 2013 and the "No
           2EOLJDWLRQOHWWHUSURGXFHGE\WKHXQLWLQ-DQXDU\$VRI6HSWHPEHU
           Obligation"  letter produced by the unit in January 2014. As of September
           +817EHOLHYHGWKDW6NDGGHQKDGDIILUPDWLYHO\GLVVHPLQDWHGWKH6$
           2013,  HUNT believed that Skadden had affirmatively disseminated the SA
           5HSRUWWRWKH1HZ<RUN7LPHVDQGRWKHUSXEOLFDWLRQVDQGWKHQFRQWDFWHG
           Report  to the New York Times and other publications, and then contacted
           WKHPHGLDWRDGGUHVVHUURUVLQWKHLUUHSRUWLQJ$WWKH2FWREHU
           the  media to address errors in their reporting. At the October 2013
           PHHWLQJZLWK&5$,**5266DQG63,(*(/+817ZDVWROGWKDW6NDGGHQRQO\
           meeting  with CRAIG, GROSS, and SPIEGEL, HUNT was told that Skadden only
           VHQWWKH6$5HSRUWWRWKHPHGLDDIWHUWKHDUWLFOHVZHUHZULWWHQDQGWKH
           sent  the SA Report to the media after the articles were written, and the
           SXUSRVHRIVHQGLQJWKHUHSRUWZDVWRFRUUHFWWKHLQDFFXUDFLHVLQWKH
           purpose  of sending the report was to correct the inaccuracies in the
           SXEOLVKHGDUWLFOHV
           published  articles.

           7DE6'1<B
           Tab 13 - SDNY 00625-629

           +817GLGQRWUHFDOOWKHFRPPXQLFDWLRQVZLWK6+$</$3$5.(5DQRWKHU6NDGGHQ
           HUNT did not recall the communications with SHAYLA PARKER, another Skadden
           HPSOR\HHUHIHUHQFHGLQWKHHPDLOV
           employee, referenced in the 09/17/13 - 09/18/13 emails.

           7DE6'1<B
           Tab 14 - SDNY 00630-631

           +817GLGQRWUHFDOOUHWXUQLQJ&5$,*
           HUNT                                VFDOODFNQRZOHGJLQJUHFHLSW
                did not recall returning CRAIG's 09/20/13 call acknowledging receipt
           RIWKH0XVW5HJLVWHUOHWWHU
           of the "Must Register" letter.

           7DEV 6'1<B
           Tabs 15 (SDNY       
                         00054),      DQG
                                 16 (00008-9),         
                                               and 17 (00650-651)

           +817UHYLHZHG&5$,*
           HUNT                VOHWWHUQRWLI\LQJKHUWKDW/$:5(1&(63,(*(/
                reviewed CRAIG's 09/26/13 letter notifying her that LAWRENCE SPIEGEL
           ZRXOGEHFDOOLQJWRUHTXHVWDPHHWLQJWRGLVFXVVWKH0XVW5HJLVWHU
           would be calling to request a meeting to discuss the "Must Register"
           OHWWHUDVZHOODVDVXEVHTXHQWVHULHVRILQWHUQDO)$5$XQLWHPDLOV
           letter, as well as a subsequent series of internal FARA unit emails
           UHJDUGLQJWKHVFKHGXOLQJRIWKHPHHWLQJ
           regarding the scheduling of the meeting.

           +817KDGQRWKLQJWRDGGUHJDUGLQJWKHVFKHGXOLQJRIWKHPHHWLQJDQGGLG
           HUNT had nothing to add regarding the scheduling of the meeting and did
           QRWUHPHPEHUWKHVLJQLILFDQFHRI6NDGGHQSDUWQHU&/,))6/2$1 VSRWHQWLDO
           not remember the significance of Skadden partner CLIFF SLOAN's potential
           DWWHQGDQFH+817OLNHO\IRUZDUGHGWKHLQIRUPDWLRQWR7+20$65(,//<GXHWR
           attendance. HUNT likely forwarded the information to THOMAS REILLY due to
           6/2$1 VPHGLDDQGSXEOLVKLQJEDFNJURXQG
           SLOAN's media and publishing background.

           7DE6'1<B
           Tab 18 - SDNY 00002

           +817UHYLHZHG&5$,*
           HUNT                VOHWWHUGDWHGZKLFKZDVWUDQVPLWWHGWRWKH
                reviewed CRAIG's letter dated 10/10/13, which was transmitted to the
           )$5$XQLWWKHGD\DIWHUWKHPHHWLQJZLWK&5$,**5266DQG
           FARA unit the day after the 10/09/13 meeting with CRAIG, GROSS, and
           63,(*(/
           SPIEGEL.

           +817ZDVMRLQHGDWWKHPHHWLQJE\.(9,1&2112//<7,038*+DQG$/(;08''
           HUNT  was joined at the meeting by KEVIN CONNOLLY, TIM PUGH, and ALEX MUDD
           IURPWKH)$5$XQLW+817KDGPHWZLWK.(1*5266PDQ\WLPHVLQFRQQHFWLRQ
           from  the FARA unit. HUNT had met with KEN GROSS many times in connection
           ZLWKYDULRXVUHJLVWUDQWVEXWEHOLHYHVWKLVZDVOLNHO\WKHRQO\WLPHVKH
           with various registrants, but believes this was likely the only time she
           PHWZLWK*5(*&5$,*DQG/$:5(1&(63,(*(/
           met  with GREG CRAIG and LAWRENCE SPIEGEL.

           $WWKHPHHWLQJ6NDGGHQUHSUHVHQWHGWKDWWKHLURQO\FRQWDFWZLWKWKHPHGLD
           At the meeting, Skadden represented that their only contact with the media
           ZDVFRUUHFWLQJHUURUVLQUHVSRQVHWRUHTXHVWVIURPWKHPHGLD6NDGGHQZDV
           was correcting errors in response to requests from the media. Skadden was
                                                81&/$66,),(')282
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&RQWLQXDWLRQRI)'RI  8 ,QWHUYLHZRI+HDWKHU+XQW
Continuation of FD-302 of (U) Interview of Heather Hunt         ,2Q
                                                                   On    ,page
                                                                        05/15/2018 3DJH 9
                                                                                           RI
                                                                                             of 9

           DGDPDQWWKDWWKHUHKDGEHHQQRSURDFWLYHRXWUHDFKEHFDXVHWKLVSRLQWZDV
           adamant that there had been no proactive outreach; because this point was
           WKHFUX[RIWKHLUGLVFXVVLRQ+817DVNHG6NDGGHQWRSXWLWLQZULWLQJ
           the crux of their discussion, HUNT asked Skadden to put it in writing.
           6NDGGHQGLGVRLQWKHOHWWHUVLJQHGE\&5$,*
           Skadden did so in the 10/10/13 letter signed by CRAIG.

           +817ZDVDVNHGLILWZRXOGKDYHEHHQUHOHYDQWWRNQRZZKHWKHU6NDGGHQ
           HUNT was asked if it would have been relevant to know whether Skadden
           DIILUPDWLYHO\VHQWWKH6$5HSRUWWRWKHQHZVSDSHUVRULI6NDGGHQKDG
           affirmatively sent the SA Report to the newspapers, or if Skadden had
           UHDFKHGRXWWRWKHSUHVVWRFRPPHQWRQWKH6$5HSRUW+817VDLGERWKIDFWV
           reached out to the press to comment on the SA Report. HUNT said both facts
           ZRXOGKDYHEHHQUHOHYDQWWKDW VWKHJLVWRI)$5$+RZHYHULI6NDGGHQ
           would have been relevant - that's the gist of FARA. However, if Skadden'sV
           DVVLJQPHQWRQEHKDOIRIWKH*RYHUQPHQWRI8NUDLQHKDGLQFOXGHG
           assignment on behalf of the Government of Ukraine had included
           GLVVHPLQDWLRQRIWKHUHSRUWWKHQLWPLJKWQRWPDWWHUZKHWKHU6NDGGHQ
           dissemination of the report, then it might not matter whether Skadden
           FRQWDFWHGUHSRUWHUVRUWKHUHSRUWHUVFRQWDFWHG6NDGGHQLWZRXOGVWLOOEH
           contacted reporters or the reporters contacted Skadden - it would still be
           UHJLVWUDEOHDFWLYLW\EHFDXVHWKHJRDOZRXOGEHJHWWLQJWKH6$5HSRUWLQ
           registrable activity, because the goal would be getting the SA Report in
           IURQWRIWKH86SXEOLF
           front of the U.S. public.

           6NDGGHQGHQLHGWKDWGLVWULEXWLRQRIWKH6$5HSRUWZDVSDUWRIWKHLU
           Skadden denied that distribution of the SA Report was part of their
           PDQGDWH&5$,*PDGHLWFOHDUWKDWWKHRQO\UHDVRQKHFRQWDFWHGWKHPHGLD
           mandate. CRAIG made it clear that the only reason he contacted the media
           ZDVWRFRUUHFWHUURUVLQUHSRUWLQJ+817DJUHHGWKDWLIWKLVZDVWKHRQO\
           was to correct errors in reporting. HUNT agreed that if this was the only
           FRQWDFWWKHQQRUHJLVWUDWLRQZRXOGEHUHTXLUHG
           contact, then no registration would be required.

           7DE6'1<B
           Tab 21 - SDNY 00672

           +817UHYLHZHGDVHULHVRILQWHUQDOHPDLOVGDWHGDQGWKDW
           HUNT reviewed a series of internal emails dated 02/28/14 and 03/04/14 that
           UHIHUHQFHGDFDOOEHWZHHQ+817DQG&5$,*+817EHOLHYHGWKHFDOOZDV
           referenced a call between HUNT and CRAIG. HUNT believed the call was
           UHODWHGWRDGLIIHUHQWLVVXH
           related to a different issue.

           7DE6'1<B
           Tab 22 - SDNY 00675

           +817UHYLHZHGDQHPDLOIURP-())5(<*,/'$< 5HVHDUFK6SHFLDOLVWDWWKH
           HUNT reviewed an email from JEFFREY GILDAY (Research Specialist at the
           )$5$XQLW
           FARA unit)GDWHGZLWKWKHVXEMHFWOLQH*UHJRU\&UDLJ6NDGGHQ
                      dated 12/12/14 with the subject line "Gregory Craig - Skadden
           $USV+817EHOLHYHGWKLVFDOOZDVDOVRXQUHODWHGWRWKH6$5HSRUW
           Arps." HUNT believed this call was also unrelated to the SA Report.

           +817VDLGWKHTXHVWLRQRI6NDGGHQ VREOLJDWLRQWRUHJLVWHULQFRQQHFWLRQ
           HUNT said the question of Skadden's obligation to register in connection
           ZLWKLWVZRUNRQWKH6$5HSRUWQHYHUFDPHXSDJDLQDIWHU6NDGGHQJRWWKH
           with its work on the SA Report never came up again after Skadden got the
           DQVZHUWKH\ZDQWHG
           answer they wanted.




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